Case 3:17-bk-30505         Doc 30      Filed 12/05/17 Entered 12/06/17 11:14:36                   Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: December 5, 2017



________________________________________________________________



                       IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

   IN RE: Jonathon Deering                                              CASE NO. 17-30505
                                                                        Chapter 13
                                     Debtors                            Judge Humphrey

   --------------------------------------------------------------------------------------------------------
                                          ORDER ON DEBTORS’
                        OBJECTION TO PROOF OF CLAIM OF CREDITOR
                                             (DOCKET NO. 25)
   --------------------------------------------------------------------------------------------------------
            This matter is before the Court upon the Debtors objection to the proof of claim of
   Creditor, MTGLQ Investors, L.P., Courts Claim #4, the Court being advised that there has
   been no timely response filed to the Debtors’ objection,

          IT IS ORDERED, ADJUDGED AND DECREED that the Debtors’ objection is
   hereby sustained.

         IT IS FURTHER ORDERED that the claim filed by MTGLQ Investors, L.P. be
   DISALLOWED at a monthly mortgage payment of $1337.78 and ALLOWED with a
   monthly mortgage payment of $1086.93.

           SO ORDERED.
Case 3:17-bk-30505    Doc 30   Filed 12/05/17 Entered 12/06/17 11:14:36   Desc Main
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   Serve Upon:

   Default List

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   Selene Finance, 9990 Richmond Avenue, Suite 400S, Houston, TX 77042

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